Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 1 of 14




          Exhibit 2
            Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 2 of 14




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14                  kmcmahon@saverilawfirm.com

15   Counsel for Plaintiffs

16

17                                  UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19                                          SAN FRANCISCO DIVISION

20   DANTE DEMARTINI, et al.,                              Case No. 3:22-cv-08991-JSC

21                            Plaintiffs,
            v.                                             PLAINTIFF DANTE DEMARTINI’S
22                                                         RESPONSES TO DEFENDANT
                                                           MICROSOFT CORPORATION’S FIRST
23   MICROSOFT CORPORATION, a Washington
                                                           SET OF INTERROGATORIES
     corporation,
24

25                            Defendant.

26

27

28
       Case No. 3:22-cv-08991-JSC
            PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                   FIRST SET OF INTERROGATORIES
            Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 3 of 14




 1          RESPONDING PARTY:               Plaintiﬀ Dante DeMartini

 2          PROPOUNDING PARTY:              Defendant Microsoft Corporation

 3          SET NO.:                        One

 4          Pursuant to Rule 33 of the Federal Rules of Civil Procedure (“Federal Rules”), Plaintiﬀ Dante

 5   DeMartini (“Plaintiﬀ”), hereby objects and responds to Defendant Microsoft Corporation’s (“Defendant”

 6   or “Microsoft”) First Set of Interrogatories (“Interrogatories”) dated April 25, 2023.

 7                                           GENERAL OBJECTIONS

 8          1.      �ese responses are made solely for purposes of discovery in this action, and any

 9   response, objection or materials produced in response to the Interrogatories are subject to all appropriate

10   later asserted objections to their admissibility in evidence before, during, or after trial, and Plaintiﬀ

11   expressly reserves the right to make such future objections.

12          2.      Plaintiﬀ has not completed his discovery and investigation of the facts pertaining to this

13   Action, and Plaintiﬀ reserves the right to amend, modify, or supplement these responses with

14   subsequently discovered responsive information and to introduce and rely upon any such subsequently

15   discovered information in this litigation.

16          3.      �e Responses herein are preliminary—Plaintiﬀ is providing these responses on an

17   expedited basis as a courtesy to and at the request of Defendant. Plaintiﬀ’s investigation is ongoing and

18   therefore, Plaintiﬀ reserves his right to supplement these responses as necessary and as required under the

19   Federal Rules of Civil Procedure.

20          4.      Defendant’s deﬁnitions and instructions will not be followed to the extent they seek to

21   impose burdens or obligations beyond those required by the Federal Rules of Civil Procedure, Civil

22   Local Rules or any of the Court’s Orders and will be construed to impose only the burdens and

23   obligations required by those Rules and Orders.

24          5.      Plaintiﬀ objects to the Interrogatories to the extent they seek information or materials that

25   are protected from disclosure by attorney-client privilege, the work-product doctrine, expert disclosure

26   rules, or other applicable privileges and protections, including communications with Plaintiﬀ’s attorneys

27   regarding the Action, including without limitation other documents relating to an attorney’s mental

28   impressions, conclusions, opinions, strategies, or legal theories concerning the Action. Any inadvertent
       Case No. 3:22-cv-08991-JSC              1
             PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
            Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 4 of 14




 1   production of privileged or protected materials or information is unintentional and shall not be deemed to

 2   be a waiver of Plaintiﬀ’s privileges, protections, or right to assert them.

 3          6.      Plaintiﬀ objects to the Interrogatories as oppressive, unduly burdensome, harassing,

 4   disproportionate to the needs of the case, and to the extent they call for information that Plaintiﬀ has

 5   already provided to Defendant.

 6          7.      Plaintiﬀ objects to each Interrogatory to the extent it seeks information (a) not maintained

 7   in the ordinary course of business.

 8          8.      Plaintiﬀ objects to each Interrogatory as unduly burdensome to the extent it seeks

 9   information that (a) is not in Plaintiﬀ’s possession, custody, or control as those terms are deﬁned in

10   Federal Rule of Civil Procedure 33, or (b) is as easily available to Defendant.

11          9.      Plaintiﬀ objects to information sought in which Plaintiﬀ was a minor at the time.

12          Notwithstanding the foregoing General Objections and any Speciﬁc Objections made in the

13   responses below and subject to continuing investigation, Plaintiﬀ responds as follows:

14

15                                   RESPONSES TO INTERROGATORIES

16   INTERROGATORY 1: List your contact information, including your home address, email address, and

17   telephone number.

18   RESPONSE TO INTERROGATORY 1:

19   Subject to and without waiving any of the general objections, and subject to such additional facts that

20   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to the relevance

21   and harassing nature of this interrogatory. All contact and communication should be made through

22   Plaintiff’s counsel.

23

24   INTERROGATORY 2: Identify the Video Games you have played in the past 10 years, specifying the

25   following information for each Video Game for each year:

26          a.      The title of the Video Game (including the specific title and not solely the franchise);

27          b.      Whether you consider that game a “Triple-A Game” as described by paragraphs 71–83 of

28                  the Amended Complaint;
       Case No. 3:22-cv-08991-JSC              2
             PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
            Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 5 of 14




 1          c.      The date on which you purchased the Video Game;

 2          d.      The date range during which you played the Video Game;

 3          e.      The Platform(s) on which you played the Video Game;

 4          f.      The approximate number of hours you spent per week playing the Video Game when you

 5                  played it;

 6          g.      Whether you played the Video Game’s multiplayer modes (if available); and

 7          h.      If applicable, the approximate number of hours you spent playing multiplayer specifically

 8                  for each Video Game.

 9   RESPONSE TO INTERROGATORY 2:

10   Subject to and without waiving any of the general objections, and subject to such additional facts that

11   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to this

12   interrogatory to the extent that it is vague, ambiguous, overbroad, and harassing in nature. Given the

13   overbroad nature of this interrogatory, Plaintiff provides information dating back to the past five years,

14   excluding games played exclusively on mobile phones. Without foregoing the above general and specific

15   objections and to the extent possible, Plaintiff responds as follows:

16          a.      �e title of the Video Game (including the speciﬁc title and not solely the franchise): to

17                  the best of my recollection and belief, I have played the following Video Games,

18                  including (i) the platform(s) I played the game on; (ii) whether I purchased it; and (iii)

19                  whether I played it as a Multiplayer mode, as follows:

20                  1.      1 2 (i) Nintendo Switch (i) Nintendo Switch; (ii) yes (2019); (iii) no.

21                  2.      Aim Labs; (i) PC; (ii) free (2020); (iii) no.

22                  3.      Among Us; (i) PC; (ii) free (2020); (iii) yes.

23                  4.      Apex Legends; (i) PC, PlayStation 4; (ii) free (2019); (iii) yes.

24                  5.      Ark Survival; Evolved (i) PC; (ii) yes (2021); (iii) yes.

25                  6.      Birth of Isaac; (i) PlayStation 4; (ii) no; (iii) no.

26                  7.      Borderlands 2; (i) PlayStation 3; (ii) yes (2015); (iii) yes.

27                  8.      Borderlands 3; (i) PC; (ii) yes (2020); (iii) yes.

28                  9.      Call of Duty 3; (i) PlayStation 2; (ii) no; (iii) no.
       Case No. 3:22-cv-08991-JSC              3
             PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
         Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 6 of 14




 1             10.   Call of Duty 4;: Modern Warfare; (i) Nintendo DS, PlayStation 2; (ii) no; (iii) no.

 2             11.   Call of Duty 5: World at War; (i) PlayStation 2; (ii) no; (iii) yes.

 3             12.   Call of Duty: Advanced Warfare; (i) PlayStation 3; (ii) yes (2015); (iii) yes.

 4             13.   Call of Duty: Black Ops; (i) PlayStation 3, Xbox 360; (ii) yes (2010); (iii) yes.

 5             14.   Call of Duty: Black Ops Cold War; (i) PC; (ii) yes (2021); (iii) yes.

 6             15.   Call of Duty: Black Ops II; (i) PlayStation 3; (ii) yes (2012); (iii) yes.

 7             16.   Call of Duty: Black Ops III; (i) PlayStation 4; (ii) yes (2015); (iii) yes.

 8             17.   Call of Duty: Black Ops IIII; (i) PlayStation 4; (ii) no; (iii) yes.

 9             18.   Call of Duty: Ghosts; (i) PlayStation 3; (ii) no; (iii) yes.

10             19.   Call of Duty: Inﬁnite Warfare; (i) PlayStation 4; (ii) no; (iii) yes.

11             20.   Call of Duty: Modern Warfare (2019); (i) PlayStation 4, PC; (ii) yes (2019);

12                   (iii) yes.

13             21.   Call of Duty: Modern Warfare 2; (i) PlayStation 3, Xbox 360; (ii) yes (2010);

14                   (iii) yes.

15             22.   Call of Duty: Modern Warfare 3; (i) PlayStation 3; (ii) yes (2011); (iii) yes.

16             23.   Call of Duty: Modern Warfare II (2022); (i) PC; (ii) yes (2022); (iii) yes.

17             24.   Call of Duty: Modern Warfare Remastered; (i) PlayStation 4; (ii) yes (2016);

18                   (iii) yes.

19             25.   Call of Duty: Vanguard; (i) PC; (ii) yes (2021); (iii) yes.

20             26.   Call of Duty: Warzone; (i) PlayStation 4, PC; (ii) free (2020); (iii) yes.

21             27.   Call of Duty: Warzone 2.0; (i) PC; (ii) yes (2022); (iii) yes.

22             28.   Call of Duty: WWII; (i) PlayStation 4; (ii) no; (iii) yes.

23             29.   Castle Crashers; (i) PlayStation 4, PC; (ii) yes (2018); (iii) no.

24             30.   Catan Universe; (i) PC; (ii) free (2020); (iii) yes.

25             31.   Civilization 6; (i) PC; (ii) free (2018); (iii) no.

26             32.   Crash Bandicoot: N. Sane Trilogy; (i) PlayStation 4; (ii) no; (iii) no.

27             33.   Crawlers and Brawlers; (i) PC; (ii) yes (2019); (iii) no.

28             34.   Cyberpunk 2077; (i) PC; (ii) yes (2020); (iii) no.
     Case No. 3:22-cv-08991-JSC              4
           PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                  FIRST SET OF INTERROGATORIES
         Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 7 of 14




 1             35.   Dauntless; (i) PC; (ii) free (2019); (iii) no.

 2             36.   Dead by Daylight; (i) PC; (ii) yes (2022); (iii) yes.

 3             37.   Destiny 2; (i) PlayStation 4; (ii) no; (iii) yes.

 4             38.   Diablo III; (i) PlayStation 4; (ii) no; (iii) no.

 5             39.   DJ Hero 2; (i) PlayStation 3; (ii) no; (iii) no.

 6             40.   Don't Starve; (i) PC/PlayStation 4; (ii) yes (2019); (iii) yes.

 7             41.   Elden Ring; (i) PlayStation 4/PC; (ii) yes (2022); (iii) yes.

 8             42.   Enter the Gungeon; (i) PlayStation 4; (ii) no; (iii) no.

 9             43.   Fall Guys; (i) PlayStation 4/PC; (ii) yes (2020); (iii) yes.

10             44.   Fallout 4; (i) PlayStation 4; (ii) no; (iii) no.

11             45.   Fortnite; (i) PlayStation 4/PC; (ii) yes (2016); (iii) yes.

12             46.   Ghosts of Tsushima; (i) PlayStation 4; (ii) no; (iii) no.

13             47.   God of War (2019); (i) PlayStation 4; (ii) no; (iii) no.

14             48.   Guitar Hero 2; (i) PlayStation 2; (ii) no; (iii) no.

15             49.   Guitar Hero 3; (i) PlayStation 3; (ii) no; (iii) no.

16             50.   Guitar Hero 4; (i) PlayStation 3; (ii) no; (iii) no.

17             51.   HearthStone; (i) PC/Mac/iOS; (ii) yes (2016); (iii) yes.

18             52.   Jackbox Games; (i) PlayStation 4/Switch; (i) PC/Switch (2020); (iii) no.

19             53.   League of Legends; (i) PC/Mac; (ii) free (2012); (iii) yes.

20             54.   Left 4 Dead 2; (i) PC; (ii) free (2018); (iii) no.

21             55.   Legends of Runeterra; (i) PC; (ii) free (2020); (iii) yes.

22             56.   Marvel Ultimate Alliance; (i) PlayStation 3; (ii) no; (iii) no.

23             57.   Minecraft; (i) PC; (ii) yes (2010); (iii) yes.

24             58.   Minecraft Dungeons; (i) PC; (ii) no; (iii) no.

25             59.   No Man's Sky; (i) PlayStation 4, PC; (ii) yes (2022); (iii) yes.

26             60.   Overwatch; (i) PlayStation 4, PC; (ii) yes (2016); (iii) yes.

27             61.   Overwatch 2; (i) PC; (ii) free (2022); (iii) yes.

28             62.   Realm Royale Reforged; (i) PC; (ii) free (Don't Know); (iii) yes.
     Case No. 3:22-cv-08991-JSC              5
           PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                  FIRST SET OF INTERROGATORIES
         Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 8 of 14




 1             63.    Rocket League; (i) PlayStation 4, PC; (ii) free (2022); (iii) yes.

 2             64.    Rust (i); PC; (ii) yes (2021); (iii) yes.

 3             65.    Skylanders: Giants; (i) PlayStation 3; (ii) no; (iii) no.

 4             66.    Skylanders: Spyro's Adventure; (i) PlayStation 3; (ii) no; (iii) no.

 5             67.    Skylanders: Swap Force; (i) PlayStation 3; (ii) no; (iii) no.

 6             68.    Spider-Man; (i) PlayStation 2; (ii) no; (iii) no.

 7             69.    StarCraft II: Wings of Liberty; (i) PC, Mac; (ii) yes (2012); (iii) yes.

 8             70.    Tony Hawk Pro Skater; (i) PlayStation; (ii) no; (iii) no.

 9             71.    Tony Hawk Pro Skater 2; (i) PlayStation; (ii) no; (iii) no.

10             72.    Tony Hawk Pro Skater 3; (i) PlayStation 2; (ii) no; (iii) no.

11             73.    Tony Hawk Underground; (i) PlayStation 2; (ii) no; (iii) no.

12             74.    Valheim; (i) PC; (ii) yes (2021); (iii) yes.

13             75.    Valorant; (i) PC; (ii) free (2020); (iii) yes.

14             76.    World of Warcraft; (i) PC; (ii) yes (Don’t Know); (iii) yes.

15       b.    Whether you consider that game a “Triple-A Game” as described by paragraphs 71–83 of

16             the Amended Complaint: Plaintiff is continuing to investigate this Response.

17       c.    The date on which you purchased the Video Game: Plaintiff is continuing to investigate

18             this Response.

19       d.    The date range during which you played the Video Game: Plaintiff is continuing to

20             investigate this Response.

21       e.    The Platform(s) on which you played the Video Game: see Response 2(a), supra.

22       f.    The approximate number of hours you spent per week playing the Video Game when you

23             played it: Plaintiff is continuing to investigate this Response.

24       g.    Whether you played the Video Game’s multiplayer modes (if available): Plaintiff is

25             continuing to investigate this Response.

26       h.    If applicable, the approximate number of hours you spent playing multiplayer specifically

27             for each Video Game: Plaintiff continues to investigate this Response.

28
     Case No. 3:22-cv-08991-JSC              6
           PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                  FIRST SET OF INTERROGATORIES
            Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 9 of 14




 1   INTERROGATORY 3: Identify the individual Platforms you owned in the past 20 years, including:

 2               a.      The date on which you purchased each Platform; and

 3               b.      The range of dates during which you played Video Games on each Platform.

 4   RESPONSE TO INTEROGATORY 3:

 5   Subject to and without waiving any of the general objections, and subject to such additional facts that

 6   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to the overbroad,

 7   unduly burdensome, and harassing nature of this interrogatory. Without foregoing the above general and

 8   specific objections and to the extent possible, Plaintiff responds as follows: I have owned the following

 9   Platforms in the past twenty years: (1) Gameboy Color; (2) Gameboy Advanced; (3) PlayStation 1; (4)

10   Nintendo; (5) Sega Genesis; (6) Nintendo Game Cube; (7) Nintendo Wii; (8) PlayStation 2; (9) Xbox;

11   (10) Xbox 360; (11) PlayStation 3; (12) Wii U; (13) PlayStation 4; (14) Nintendo Switch;

12   (15) PlayStation 5; (16) PC Computer; (17) Windows PC; and (18) Mac OS.

13

14   INTERROGATORY 4: Identify all Multi Game Library Subscriptions you have used in the past 10

15   years, including:

16          a.        The name of the Multi Game Library Subscription(s);

17          b.        If applicable, the specific tier(s) or offering(s) that you subscribed to for each Multi Game

18                    Library Subscription; and

19          c.        The start and end dates of each subscription and resubscription for each Multi Game Library

20                    Subscription.

21   RESPONSE TO INTERROGATORY 4:

22   Subject to and without waiving any of the general objections, and subject to such additional facts that

23   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to this

24   interrogatory as being overbroad, unduly burdensome, and harassing. Without foregoing the above

25   general and specific objections and to the extent possible, Plaintiff responds as follows:

26          a.        The name of the Multi Game Library Subscription(s): (1) PlayStation Plus; (2) PlayStation

27                    Now; and (3) Apple Games.

28
       Case No. 3:22-cv-08991-JSC              7
             PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
           Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 10 of 14




 1          b.      If applicable, the specific tier(s) or offering(s) that you subscribed to for each Multi Game

 2                  Library Subscription: Plaintiff continues to investigate this Response.

 3          c.      The start and end dates of each subscription and resubscription for each Multi Game Library

 4                  Subscription: Plaintiff continues to investigate this Response.

 5

 6   INTERROGATORY 5: Identify all usernames you have created and registered for purchasing and/or

 7   playing Video Games on Platforms, including but not limited to Xbox Gamertags, PlayStation Network

 8   (“PSN”) Online IDs, SteamIDs, Steam Account Names, Nintendo Network IDs, Apple Game Center

 9   “Nicknames,” and/or Google Play gamer name.

10   RESPONSE TO INTERROGATORY 5:

11   Subject to and without waiving any of the general objections, and subject to such additional facts that

12   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to this

13   interrogatory as being overbroad, unduly burdensome and harassing. Plaintiff is amenable to meeting and

14   conferring with Microsoft regarding this interrogatory.

15

16   INTERROGATORY 6: For every username you provide in response to Interrogatory 5, provide the email

17   address, home address, telephone number, and name currently associated with that username.

18   RESPONSE TO INTERROGATORY 6:

19   Subject to and without waiving any of the general objections, and subject to such additional facts that

20   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to this

21   interrogatory as being irrelevant and harassing. Plaintiff is amenable to meeting and conferring with

22   Microsoft regarding this interrogatory.

23

24   INTERROGATORY 7: Identify whether you or any of your immediate family members are employed

25   in the Video Game industry, including any Video Game industry employees’:

26          a.      Name;

27          b.      Address;

28          c.      Telephone number; and
       Case No. 3:22-cv-08991-JSC              8
             PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
           Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 11 of 14




 1          d.      History of employment in the Video Game industry to date.

 2   RESPONSE TO INTERROGATORY 7:

 3   Subject to and without waiving any of the general objections, and subject to such additional facts that

 4   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to this

 5   interrogatory as being irrelevant and harassing. Without waiving and foregoing the above-described

 6   objections, Plaintiff answers in the following manner: Plaintiff is not aware of any immediate family

 7   members that are employed by Defendant.

 8

 9   INTERROGATORY 8: Identify all social media handles associated with you, including but not limited

10   to usernames for Instagram, Twitter, and Twitch.

11   RESPONSE TO INTERROGATORY 8:

12   Subject to and without waiving any of the general objections, and subject to such additional facts that

13   may be adduced during discovery or otherwise in this litigation, Plaintiff further objects to this

14   interrogatory as being irrelevant and harassing. Plaintiff is amenable to meeting and conferring with

15   Microsoft regarding this interrogatory.

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       Case No. 3:22-cv-08991-JSC              9
             PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
          Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 12 of 14




 1   Dated: May 11, 2023                    By:         /s/ Joseph Saveri
                                                         Joseph R. Saveri
 2

 3                                          Joseph R. Saveri (State Bar No. 130064)
                                            Steven N. Williams (State Bar No. 175489)
 4                                          Cadio Zirpoli (State Bar No. 179108)
 5                                          Elissa Buchanan (State Bar No. 249996)
                                            David H. Seidel (State Bar No. 307135)
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11                                                         eabuchanan@saverilawfirm.com
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12                                                         kmcmahon@saverilawfirm.com

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22                                          Plaintiffs’ Counsel
23

24

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28
      Case No. 3:22-cv-08991-JSC              10
            PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                   FIRST SET OF INTERROGATORIES
            Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 13 of 14




 1                                         CERTIFICATE OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is

 3   601 California Street, Suite 1000, San Francisco, California 94108. I am over the age of eighteen and not

 4   a party to this action.

 5           On May 11, 2023, I caused the following documents to be served by email upon all persons

 6   appearing on the attached Service List:

 7           PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT
             CORPORATION’S FIRST SET OF INTERROGATORIES
 8

 9           I declare under penalty of perjury that the foregoing is true and correct. Executed on May 11,

10   2023, at San Francisco, California.

11
                                                      By:        /s/ Ashleigh Jensen
12
                                                                     Ashleigh Jensen
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       Case No. 3:22-cv-08991-JSC              11
             PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
          Case 3:22-cv-08991-JSC Document 293-2 Filed 11/10/23 Page 14 of 14




 1                                            SERVICE LIST

 2   Rakesh Kilaru                                  Brian Parker Miller
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     Case No. 3:22-cv-08991-JSC              12
           PLAINTIFF DANTE DEMARTINI’S RESPONSES TO DEFENDANT MICROSOFT CORPORATION’S
                                  FIRST SET OF INTERROGATORIES
